

People v Leyva (2025 NY Slip Op 02020)





People v Leyva


2025 NY Slip Op 02020


Decided on April 03, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 03, 2025

Before: Manzanet-Daniels, J.P., Moulton, Gesmer, Pitt-Burke, Michael, JJ. 


Ind No. 936/18|Appeal No. 4042|Case No. 2021-00488|

[*1]The People of The State of New York, Respondent, 
vEnrique Leyva, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Phoenix Rice-Johnson of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jamie Masten of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Erika Edwards, J.), rendered August 13, 2020,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 3, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








